Case 3:21-md-03004-NJR            Document 5284 Filed 05/31/24              Page 1 of 3        Page ID
                                           #44268



                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS



    IN   RE:   SYNGENTA       CROP
    PROTECTION LLC, SYNGENTA
    AG, and, CHEVRON U.S.A., INC.,

    This document relates to:
    The Estate of Walter Parker                        Cause No. 3:23-pq-4018
    and Linda Parker,
    3:23-pq-4018
.


    OBJECTION TO REPORT AND RECOMMENDATION REGARDING OVERDUE
                PLAINTIFF ASSESSMENT QUESTIONNAIRES

       NOTICE IS HEREBY GIVEN that the Estate of Walter Parker and Linda Parker

(“Plaintiffs”), by and through counsel, hereby file this objection to Special Master’s Report and

Recommendation Regarding Overdue Assessment Questionnaires, which was filed on May 30,

2024 [Doc. 5280] (“May 30th Report”), and asks the Court for leave not to be dismissed pursuant

to the May 30th Report.

       Specifically, Plaintiffs object on the grounds they were incorrectly identified in Exhibit A to

the May 30th Report as a party that “failed to timely serve a PAQ upon Defendants . . . .” May

30th Report [Doc. 5280] at 2. Contrary to that statement, Mrs. Parker completed and submitted a

PAQ on March 6, 2024. See Exhibit A, Proof of MDL Upload. The Special Master was made

aware of Plaintiffs’ intent to file an objection via email on the morning of May 31, 2024. See

Exhibit B, Email from G. Henderson to R. Ellis, dated May 31, 2024.

       Since Plantiffs’ inclusion in the list accompanying the May 30th Report was an error, and

because the Estate of Walter Parker and Mrs. Parker would suffer prejudice by having this case

dismissed, Plaintiffs respectfully requests that they be allowed to continue in his lawsuit.
                                             Page 1 of 3
Case 3:21-md-03004-NJR   Document 5284 Filed 05/31/24       Page 2 of 3   Page ID
                                  #44269




DATED: May 31, 2024                     Respectfully submitted,



                                          /s/Gibbs C. Henderson
                                          Gibbs C.
                                          Henderson IL Bar
                                          No.: 6314687 TX
                                          Bar No.: 24041084
                                          NACHAWATI LAW GROUP, PLLC
                                          5489 Blair Rd.
                                          Dallas, TX 75231
                                          Telephone: (214) 890-0711
                                          Fax: (214) 890-0712
                                          E-mail: ghenderson@ntial.com
                                          N. Majed Nachawati
                                          TX Bar No. 24038319
                                          NACHAWATI LAW GROUP, PLLC
                                          5489 Blair Rd.
                                          Dallas, TX 75231
                                          Telephone: (214) 890-0711
                                          Fax: (214) 890-0712
                                          Email: mnachawati@ntrial.com
                                          John Raggio
                                          TX Bar No. 24041739
                                          NACHAWATI LAW GROUP, PLLC
                                          5489 Blair Road
                                          Dallas, TX 75231
                                          Telephone: (214) 890-0711
                                          Fax: (214) 890-0712
                                          E-mail: jraggio@ntrial.com




                                 Page 2 of 3
Case 3:21-md-03004-NJR          Document 5284 Filed 05/31/24              Page 3 of 3     Page ID
                                         #44270



                                 CERTIFICATE OF SERVICE

         I, Gibbs C. Henderson, hereby certify that on May 31, 2024, the foregoing Motion for

  Substitution of Party was served electronically and notice of service of this document will be

  sent to all parties by the Court’s electronic filing system to CM/ECF participants registered to

  receive service in this matter. Parties may access this filing through the Court’s system.



                                                         /s/Gibbs C. Henderson
                                                         Gibbs C. Henderson




                                           Page 3 of 3
